                                                                                                        FILED
                                                UNITED STATES DISTRICT OURT                             SEp
                                                                                                                  2C23
                                                 WESTERN DISTRICT OF TXAS                    ct
                                                                                             '1E::.,
          S
                               .                    SAN ANTONIO DIVISION                                      s
                                                                                                                  "ii. r
                                                                                                                                'J
                                                                                                  -S.                 t   0P


    UNITED STATES OF AMERICA                                        §
    Plaintzft                                                       §      No.: $A:22-CR-00366(2)-OLG
                                                                    §          'I
    vs.                                                             §                                                     S




                                                                    §           I




    (2) CHRJSIAN MARTiNEZ                                           §
    Defendant,                                                      §


                                                     ORDER SETTING SENTE?4CING
                                                                                            numbered case is set for
          IT IS HEREBY ORDERED that the above entiied and

    SENTENCING PROCEEDINGS in Courtroom C, Scond
                                                                                          Floor of the United States

                                                                                            on Thursday, January 4,
    Federal Courthouse, 262 W Nueva Street, San Antonio, Texas

                                            IT IS FURTHER ORDERED thatithe Clerk of Court shall send a
                                                                                                                               copy
    2024 at 9:30 AM
                                                                                            S Pretrial Services and the
    of this order to counsel for defendant, the United States Attorney, U

    tjmted States Probation Office                      Counsel for the defendait shall notify the defendant of this

    setting and, if defendant is on bond, advise defendant tha he
                                                                                        must be present at the sentence
                                            5




    proeeding           .5..        5
                                        5




          IT IS SO ORDERED on September 27, 2023




                ,,,,.                                                   1ICH
S


                                                                        UNITED STATES MAGISTRATE JUDGE
                               -.               :.
                                                                                                                  H
                                                                                    1
